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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B. P. J., by her next friend and mother,
 HEATHER JACKSON,

      Plaintiff,

 v.                                              CIVIL ACTION NO. 2:21-cv-00316
                                                 Judge Joseph R. Goodwin
 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY
 BOARD OF EDUCATION, WEST
 VIRGINIA SECONDARY SCHOOL
 ACTIVITIES COMMISSION,
 W. CLAYTON BURCH, in his official
 Capacity as State Superintendent, DORA
 STUTLER, in her official capacity as
 Harrison County Superintendent, and
 THE STATE OF WEST VIRGINIA,

        Defendants.

 and LAINEY ARMISTEAD,

        Intervenor Defendant.



 REPLY IN SUPPORT OF DEFENDANT STATE OF WEST VIRGINIA’S MOTION IN
   LIMINE TO BAR EVIDENCE OF DISORDERS OF SEXUAL DEVELOPMENT

       Defendant, State of West Virginia (the “State”), filed its Motion In Limine To Bar Evidence

Of Disorders Of Sexual Development (“State’s Initial Motion,” ECF Nos. 396 and 397) and

Plaintiff filed its opposition (“Pl.’s Op.,” ECF No. 444).       The State replies as follows.
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                                                    ARGUMENT

       A. There Is No Issue With People With Disabilities of Sexual Development In West
          Virginia And The Equal Protection Clause Does Not Require The Legislature To
          Solve Every Conceivable Issue.

           Plaintiff apparently concedes that no biological male with a Disorder of Sexual

Development has, to date, sought to compete on a female team in West Virginia. See State’s Initial

Motion at 2-3, ECF No. 397. Plaintiff now focuses on the extremely rare (1:2000-1:45001)

incidence of people with complete androgen insensitivity syndrome (“CAIS”), but provides no

information about any West Virginia persons with CAIS, let alone any West Virginia athletes with

CAIS. See generally Pl.’s Op. Further, Plaintiff has not shown that H.B. 3293 has prevented any

person with CAIS from participating in sports in West Virginia.

           But even if there were, the Equal Protection Clause does not require state legislatures to

consider every conceivable possibility when enacting a statute. U.S. v. Carolene Prod. Co., 304

U.S. 144, 151 (1938). See also Michael M. v. Superior Ct. of Sonoma Cnty., 450 U.S. 464, 473

(1981) (“The relevant inquiry, however, is not whether the statute is drawn as precisely as it might

have been, but whether the line chosen by the [state] Legislature is within constitutional limits.”

(citing Kahn v. Shevin, 416 U.S. 351, 356 n.10 (1974))). Plaintiff provides no case law to support

the idea that H.B. 3293 must be so particularized as to address every conceivable concern and the

individual characteristics of every single individual in West Virginia.




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    See State’s Initial Motion at 2 n.2, ECF No. 397.
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       B. The Issue Of Disabilities Of Sexual Development Is Not Relevant.

           Plaintiff apparently concedes that any issues of Disabilities of Sexual Development are

irrelevant, except for the extremely rare CAIS disability. Plaintiff argues that there are three

reasons why this disability is relevant, but each of these is unavailing.

           1. Plaintiff claims relevance to establish that H.B. 3293’s definition of “biological sex”

should take into account CAIS. But no definition of “biological sex” does—at least Plaintiff has

not cited any such definition. And biological sex, as defined in H.B. 3293, is a workable and

appropriate term to accomplish the lawful objectives of the statute, as already addressed elsewhere.

See State’s Memo in support of MSJ at 25, ECF No. 287.

           2. Plaintiff again misdirects with the incorrect suggestion that chromosomes do not

determine athletic advantage, only “testosterone during puberty” does, as a reason for CAIS

disability relevance. Pl.’s Op at 3. There are three problems with this. First, Dr. Safer (Plaintiff’s

expert) never said that the only cause of male athletic advantages is “testosterone during puberty.”

In fact, the State’s experts have pointed out that pre-pubertal testosterone is already higher in

biological boys than in biological girls, see, e.g., Brown Decl. ¶¶ 68-70, ECF No. 285-7, and the

data cited by Dr. Brown clearly show that pre-pubertal biological boys already have a strong

athletic advantage over pre-pubertal biological girls. Id. at ¶¶ 71-113. Second, testosterone levels

are, in fact, determined by genetics, i.e. chromosomes.                       People with an XY chromosome

combination, commonly referred to as males, have a biological tendency to have higher

testosterone levels because of their chromosomal makeup, not in spite of it.2 Plaintiff’s claim that

males have no athletic advantage because of their chromosomes is a denial of causational reality.



2
    No one has claimed that testosterone production is caused or affected by a person’s self-identified gender identity.
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Third, to the extent that it is argued that a CAIS disability warrants a special exception, an

exception to H.B 3293 for CAIS individuals would be impractical and would require invasive

medical testing. Certainly, it would be appropriate for a Legislature to reject any such impractical

and personally invasive exception.

       3. Plaintiff alleges (relying on an article which is hearsay) that World Athletics and the

International Olympic Committee (“IOC”) adopted policies based on “knowledge and experience

gained from working with athletes with DSDs.” Pl.’s Op. at 3. These bodies may do whatever

they choose, but the West Virginia Legislature, as the elected representatives of all West

Virginians, is not obligated to fall in lock step behind World Athletics or the IOC when adopting

and modifying West Virginia law. Indeed, the Legislature would have a hard time doing so since

both of those organizations keep changing their policies. See State’s Reply in Supp. of MSJ at 7,

ECF No. 337.

   C. Plaintiff Claims That The State Cannot Address Non-Existent Problems But Now
      Demands That The State Address A Non-Existent CAIS Problem.

       Plaintiff has claimed that West Virginia has no existing problem with biological male

athletes who identify as females displacing biological females on female-designated teams, Pl.’s

MSJ at 30, ECF 291, and that, West Virginia had no reason to enact a law on this issue in the

absence of an existing problem. See Pl.’s MSJ. at 26-27. This ignores the controlling case law

that the Legislature is entitled to anticipate problems based on what it observes, within not only

the State but elsewhere. Ways v. City of Lincoln, 331 F.3d 596, 600 (8th Cir. 2003); see generally

State’s Memo. in Op. to Pl’s Motion for MSJ at 13, 17-18, ECF No. 305.

       Nevertheless, Plaintiff now argues that if the State enacts any law governing women’s

sports, it must include a special handling of a non-existent CAIS problem. While City of Lincoln

allows the Legislature to anticipate problems, it does not require the Legislature to solve the
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problems in the same way that other organizations (e.g. World Athletics or IOC) do or to address

every single permutation of the problem or even remote aspects of the problem.

                                        CONCLUSION

       For the foregoing reasons, the State of West Virginia respectfully request that this Court

grant its Motion in Limine and that the Court enter an Order barring Plaintiff from discussing or

offering evidence regarding Disorders of Sexual Development.

                                            Respectfully submitted.

                                            PATRICK MORRISEY
                                             West Virginia Attorney General

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                                            DATE: July 11, 2022
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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                           CHARLESTON DIVISION

 B. P. J., by her next friend and mother,
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 Harrison County Superintendent, and
 THE STATE OF WEST VIRGINIA,

        Defendants.

 and LAINEY ARMISTEAD,

        Intervenor Defendant.

                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 11th day of July, 2022, I electronically filed the foregoing

with the Clerk of Court and all parties using the CM/ECF System.


                                              /s/ Curtis R. A. Capehart
                                              Curtis R. A. Capehart
